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 8                                        UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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11       WILL R. ROBINSON, III,                            No. 2:24-cv1646 CKD P
12                           Plaintiff,
13             v.                                          ORDER
14       JASON TA, et al.,
15                           Defendants.
16

17            Plaintiff, a Louisiana prisoner proceeding pro se, has filed a civil rights action pursuant to

18   42 U.S.C. § 1983. Plaintiff has not, however, filed an in forma pauperis affidavit or paid the

19   required filing fee of $350.00 plus the $55.00 administrative fee. 1 See 28 U.S.C. §§ 1914(a),

20   1915(a). Plaintiff will be provided the opportunity either to submit the appropriate affidavit in

21   support of a request to proceed in forma pauperis or to submit the required fees totaling $405.00.

22            Plaintiff is cautioned that the in forma pauperis application form includes a section that

23   must be completed by a corrections official, and the form must be accompanied by a certified

24   copy of plaintiff’s inmate trust account statement for the six-month period immediately preceding

25   the filing of this action.

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27     If leave to file in forma pauperis is granted, plaintiff will still be required to pay the filing fee
     but will be allowed to pay it in installments. Litigants proceeding in forma pauperis are not
28   required to pay the $55.00 administrative fee.
                                                         1
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 1             In accordance with the above, IT IS HEREBY ORDERED that:

 2             1. Plaintiff shall submit, within thirty days from the date of this order, an affidavit in

 3   support of his request to proceed in forma pauperis on the form provided by the Clerk of Court, or

 4   the required fees in the amount of $405.00; plaintiff’s failure to comply with this order will result

 5   in a recommendation that this action be dismissed; and

 6             2. The Clerk of the Court is directed to send plaintiff an Application to Proceed In Forma

 7   Pauperis By a Prisoner.

 8   Dated: June 13, 2024
                                                         _____________________________________
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                                                         CAROLYN K. DELANEY
10                                                       UNITED STATES MAGISTRATE JUDGE

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